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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                  Case No.: 1:21-cr-00552 DLF-1



               v.                          ORDER



KENNETH THOMAS,

                    Defendant.



             This matter is before the count on the defendant’s motion to transfer
the case to the Northern District of Ohio and the court having considered the
motion, the government’s response thereto and after a hearing on the motion it is
this ______ day of ______________, 2022,
             ORDERED that the motion should be and hereby is GRANTED
             SO ORDERED.




                                             ___________________________
                                                Dabney L Fredrich
                                              United States District Judge
